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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF ILLINOIS



KATRINA SMITH,                                                          3:24-pq-501
                                                      Civil Action No. _________________
Plaintiff,                                            Related to MDL No. 3004COMPLAINT
v.                                                    FOR DAMAGES
SYNGENTA AG, SYNGENTA CROP              JURY TRIAL DEMANDED
PROTECTION, LLC, and DOES 1 through 60,
inclusive
Defendants.




             COMES NOW Plaintiff Katrina Smith, by and through counsel, complaining of

 Defendants Syngenta AG (“SAG”) and Syngenta Crop Protection, LLC, (“SCPLLC”) (together

 with their predecessors-in-interest and sometimes referred to collectively as the “Syngenta

 Defendants”) and Does One through Sixty, and allege against said Defendants the following:

                                  STATEMENT OF THE CASE

             1.    Plaintiff Katrina Smith was exposed to paraquat while working as a crop laborer

 on Smith Family Farm in Jackson, Kentucky from about 1999 to about 2017.

             2.    Plaintiff Katrina Smith suffers from neurological injuries consistent with

 Parkinson’s disease caused by her exposure to paraquat.

         3.        Defendants are companies that, starting in or around 1964, have designed,

 manufactured, distributed, licensed, marketed, and sold paraquat for use in the United States,

 including Kentucky.

         4.        Plaintiff brings this action to recover damages for personal injuries and damages

 resulting from exposures to paraquat manufactured, distributed, and sold by Defendants.


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        5.      Defendants’ tortious conduct, including their negligent acts and omissions in

 the research, testing, design, manufacture, marketing, and sale of paraquat, caused Plaintiff’s

 injuries and damages. At all relevant times, Defendants knew or, in the exercise of reasonable

 care, should have known that paraquat was a highly toxic substance that can cause severe

 neurological injuries and impairment, and should have taken steps in their research,

 manufacture, and sale of paraquat to ensure that people would not be harmed by foreseeable

 uses of paraquat.

                                            PARTIES

Plaintiff

        6.      Plaintiff Katrina Smith is a citizen and resident of the State of Kentucky .

        7.      Plaintiff Katrina Smith suffers from neurological injuries consistent with

Parkinson’s disease (“PD”) caused by her exposure to paraquat within the State of Kentucky

generally, and Counties within the U.S. District Court for the Eastern District of Kentucky

specifically.

        8.      Plaintiff brings this action against Defendants to recover all damages for personal

injuries and other economic damages resulting from exposure to paraquat over many years in

Kentucky, including Counties within the U.S. District Court for the Eastern District of Kentucky.

        9.      Plaintiff brings this action to recover her damages as a result of Defendants’

tortious conduct, including severe and permanent physical injuries and past and future pain,

suffering, mental anguish, inconvenience, physical impairment, medical and life care expenses,

disfigurement, loss of function, impaired enjoyment of life, susceptibility to future harm or

injury, shortened life expectancy, lost wages, and loss of earning capacity.

Defendants and their corporate predecessors




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       10.     Defendants are companies and successors-in-interest to companies that

manufactured, distributed, and sold paraquat for use in Kentucky, acted in concert with others

who manufactured, distributed, and sold paraquat for use in Kentucky, sold and used paraquat

in Kentucky , or owned property in Kentucky where paraquat was used.

                                     a. Syngenta Defendants

       11.     Defendant Syngenta Crop Protection LLC (“SCPLLC”) is a Delaware company

with its principal place of business in Greensboro, North Carolina. SCPLLC is a wholly owned

subsidiary of Defendant Syngenta AG.

       12.     Defendant Syngenta AG (“SAG”) is a foreign corporation with its principal place

of business in Basel, Switzerland.

       13.     In 1926, four British chemical companies merged to create the British company

that then was known as Imperial Chemical Industries Ltd. and ultimately was known as Imperial

Chemical Industries PLC (“ICI”).

       14.     In or about 1971, ICI created or acquired a wholly owned U.S. subsidiary

organized under the laws of the State of Delaware, which at various times was known as Atlas

Chemical Industries Inc., ICI North America Inc., ICI America Inc., and ICI United States Inc.,

and ultimately was known as ICI Americas Inc. (collectively, “ICI Americas”).

       15.     In or about 1992, ICI merged its pharmaceuticals, agrochemicals, and specialty

chemicals businesses, including the agrochemicals business it had operated at one time through

a wholly owned British subsidiary known as Plant Protection Ltd. and later as a division within

ICI, into a wholly owned British subsidiary known as ICI Bioscience Ltd.

       16.     In 1993, ICI demerged its pharmaceuticals, agrochemicals, and specialty

chemicals businesses, from which it created the Zeneca Group, with the British company Zeneca



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Group PLC as its ultimate parent company.

       17.     As a result of ICI’s demerger and creation of the Zeneca Group, ICI Bioscience

Ltd. was demerged from ICI and merged into, renamed, or continued its business under the same

or similar ownership and management as Zeneca Ltd., a wholly owned British subsidiary of

Zeneca Group PLC.

       18.     Before ICI’s demerger and creation of the Zeneca Group, ICI had a Central

Toxicology Laboratory that performed and hired others to perform health and safety studies that

were submitted to the U.S. Department of Agriculture (“USDA”) and the U.S. Environmental

Protection Agency (“EPA”) to secure and maintain the registration of paraquat and other

pesticides for use in the United States.

       19.     As a result of ICI’s demerger and creation of the Zeneca Group, ICI’s Central

Toxicology Laboratory became Zeneca Ltd.’s Central Toxicology Laboratory.

       20.     After ICI’s demerger and creation of the Zeneca Group, Zeneca Ltd.’s Central

Toxicology Laboratory continued to perform and hire others to perform health and safety studies

that were submitted to EPA to secure and maintain the registration of paraquat and other

pesticides for use in the United States.

       21.     As a result of ICI’s demerger and creation of the Zeneca Group, ICI Americas

was demerged from ICI and merged into, renamed, or continued its business under the same or

similar ownership and management as Zeneca, Inc. (“Zeneca”), a wholly owned subsidiary of

Zeneca Group PLC organized under the laws of the State of Delaware.

       22.     In 1996, the Swiss pharmaceutical and chemical companies Ciba-Geigy Ltd. and

Sandoz AG merged to create the Novartis Group, with the Swiss company Novartis AG as the

ultimate parent company.




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       23.     As a result of the merger that created the Novartis Group, Ciba-Geigy

Corporation, a wholly owned subsidiary of Ciba-Geigy Ltd., organized under the laws of the

State of New York, was merged into or continued its business under the same or similar

ownership and management as Novartis Crop Protection, Inc. (“NCPI”), a wholly owned

subsidiary of Novartis AG organized under the laws of the State of Delaware.

       24.     In 1999, the Swedish pharmaceutical company Astra AB merged with Zeneca

Group PLC to create the British company AstraZeneca PLC, of which Zeneca Ltd. and Zeneca

were wholly owned subsidiaries.

       25.     In 2000, Novartis AG and AstraZeneca PLC spun off and merged the Novartis

Group’s crop protection and seeds businesses and AstraZeneca’s agrochemicals business to

create the Syngenta Group, a global group of companies focused solely on agribusiness, with

Defendant Syngenta AG (“SAG”) as the ultimate parent company.

       26.     As a result of the Novartis/AstraZeneca spinoff and merger that created the

Syngenta Group, Zeneca Ltd. was merged into, renamed, or continued its business under the

same or similar ownership and management as Syngenta Ltd., a wholly owned British subsidiary

of SAG.

       27.     As a result of the Novartis/AstraZeneca spinoff and merger that created the

Syngenta Group, Zeneca Ltd.’s Central Toxicology Laboratory became Syngenta Ltd.’s Central

Toxicology Laboratory.

       28.      Since the Novartis/AstraZeneca spinoff and merger that created the Syngenta

Group, Syngenta Ltd.’s Central Toxicology Laboratory has continued to perform and hire others

to perform health and safety studies for submission to the EPA to secure and maintain the

registration of paraquat and other pesticides for use in the United States.




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       29.        As a result of the Novartis/AstraZeneca spinoff and merger that created the

Syngenta Group, NCPI and Zeneca were merged into and renamed, or continued to do their

business under the same or similar ownership and management, as Syngenta Crop Protection,

Inc. (“SCPI”), a wholly owned subsidiary of SAG organized under the laws of the State of

Delaware.

       30.        In 2010, SCPI was converted into Defendant Syngenta Crop Protection LLC

(“SCPLLC”), a wholly owned subsidiary of SAG organized and existing under the laws of the

State of Delaware with its principal place of business in Greensboro, North Carolina.

       31.        SAG is a successor by merger or continuation of business to its corporate

predecessor Novartis AG.

       32.        SAG is a successor by merger or continuation of business to its corporate

predecessor AstraZeneca PLC.

       33.        SAG is a successor by merger or continuation of business to its corporate

predecessor Zeneca Group PLC.

       34.        SAG is a successor by merger or continuation of business to its corporate

predecessor Imperial Chemical Industries PLC, previously known as Imperial Chemical

Industries Ltd.

       35.        SAG is a successor by merger or continuation of business to its corporate

predecessor ICI Bioscience Ltd.

       36.        SAG is a successor by merger or continuation of business to its corporate

predecessor Plant Protection Ltd.

       37.        SCPLLC is a successor by merger or continuation of business to its corporate

predecessor SCPI.



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       38.       SCPLLC is a successor by merger or continuation of business to its corporate

predecessor NCPI.

       39.       SCPLLC is a successor by merger or continuation of business to its corporate

predecessor Ciba-Geigy Corporation.

       40.       SCPLLC is a successor by merger or continuation of business to its corporate

predecessor Zeneca Inc.

       41.       SCPLLC is a successor by merger or continuation of business to its corporate

predecessor ICI Americas Inc., previously known as Atlas Chemical Industries Inc., ICI North

America Inc., ICI America Inc., and ICI United States Inc.

       42.       SCPLLC is registered to do business in the State of Kentucky.

       43.       SCPLLC has done and does substantial business in the State of Kentucky,

including Counties within the U.S. District Court for the Eastern District of Kentucky, including

the following:

        a.       markets, advertises, distributes, sells, and delivers paraquat and other pesticides

       to distributors, dealers, applicators, and farmers in the State of Kentucky, including

       Counties within the U.S. District Court for the Eastern District of Kentucky.

       b.        secures and maintains the registration of paraquat and other pesticides with the

       EPA and the Kentucky Department of Agriculture to enable itself and others to

       manufacture, distribute, sell, and use these products in the State of Kentucky, including

       Counties within the U.S. District Court for the Eastern District of Kentucky; and

       c.        performs, hires others to perform, and funds or otherwise sponsors or otherwise

       funds the testing of pesticides in the State of Kentucky, including Counties within the

      U.S. District Court for the Eastern District of Kentucky.



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         44.   SAG is a foreign corporation organized and existing under the laws of

Switzerland, with its principal place of business in Basel, Switzerland.

         45.   SAG is a holding company that owns stock or other ownership interests, either

directly or indirectly, in other Syngenta Group companies, including SCPLLC.

         46.   SAG is a management holding company.

         47.   Syngenta Crop Protection AG (“SCPAG”), a Swiss corporation with its principal

place of business in Basel, Switzerland, is one of SAG’s direct, wholly owned subsidiaries.

         48.   SCPAG employs the global operational managers of production, distribution and

marketing for the Syngenta Group’s Crop Protection (“CP”) and Seeds Divisions.

         49.   The Syngenta Group’s CP and Seeds Divisions are the business units through

which SAG manages its CP and Seeds product lines.

         50.   The Syngenta Group’s CP and Seeds Divisions are not and have never been

corporations or other legal entities.

         51.   SCPAG directly and wholly owns Syngenta International AG (“SIAG”).

         52.   SIAG is the “nerve center” through which SAG manages the entire Syngenta

Group.

         53.   SIAG employs the “Heads” of the Syngenta Group’s CP and Seeds Divisions.

         54.   SIAG also employs the “Heads” and senior staff of various global functions of

the Syngenta Group, including Human Resources, Corporate Affairs, Global Operations,

Research and Development, Legal and Taxes, and Finance.

         55.   Virtually all of the Syngenta Group’s global “Heads” and their senior staff are

housed in the same office space in Basel, Switzerland.

         56.   SAG is the indirect parent of SCPLLC through multiple layers of corporate



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ownership:

      a.      SAG directly and wholly owns Syngenta Participations AG;

      b.      Syngenta Participations AG directly and wholly owns Seeds JV C.V.;

      c.      Seeds JV C.V. directly and wholly owns Syngenta Corporation;

      d.      Syngenta Corporation directly and wholly owns Syngenta Seeds, LLC;

      e.      Syngenta Seeds, LLC directly and wholly owns SCPLLC.

       57.     Before SCPI was converted to SCPLLC, it was incorporated in Delaware, had its

principal place of business in North Carolina, and had its own board of directors.

       58.     SCPI’s sales accounted for more than 47% of the sales for the entire Syngenta

Group in 2019.

       59.     SAG has purposefully organized the Syngenta Group, including SCPLLC, in

such a way as to attempt to evade the authority of courts in jurisdictions in which it does

substantial business.

       60.     Although the formal legal structure of the Syngenta Group is designed to suggest

otherwise, SAG in fact exercises an unusually high degree of control over its country-specific

business units, including SCPLLC, through a “matrix management’’ system of functional

reporting to global “Product Heads” in charge of the Syngenta Group’s unincorporated Crop

Protection and Seeds Divisions, and to global “Functional Heads” in charge of human resources,

corporate affairs, global operations, research and development, legal and taxes, and finance.

       61.     The lines of authority and control within the Syngenta Group do not follow its

formal legal structure, but instead follow this global “functional” management structure.

       62.     SAG controls the actions of its far-flung subsidiaries, including SCPLLC,

through this global “functional” management structure.



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       63.    SAG’s board of directors has established a Syngenta Executive Committee

(“SEC”), which is responsible for the active leadership and the operative management of the

Syngenta Group, including SPLLC.

       64.    The SEC consists of the CEO and various global Heads, which currently are:

              a.     The Chief Executive Officer;

              b.    Group General Counsel;

              c.    The President of Global Crop Protection;

              d.    The Chief Financial Officer;

              e.    The President of Global Seeds; and

              f.      The Head of Human Resources.

       65.    SIAG employs all of the members of the Executive Committee.

       66.    Global Syngenta Group corporate policies require SAG subsidiaries, including

SPLLC, to operate under the direction and control of the SEC and other unincorporated global

management teams.

       67.     SAG’s board of directors meets five to six times a year.

       68.    By contrast, SCPI’s board of directors rarely met, either in person or by

telephone, and met only a handful of times over the last decade before SCPI became SCPLLC.

       69.    Most, if not all, of the SCPI board’s formal actions, including selecting and

removing SCPI officers, were taken by unanimous written consent pursuant to directions from

the SEC or other Syngenta Group global or regional managers that were delivered via e-mail to

SCPI board members.

       70.    Since SCPI became SCPLLC, decisions that are nominally made by the board or

managers of SCPLLC in fact continue to be directed by the SEC or other Syngenta Group global



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or regional managers.

       71.     Similarly, Syngenta Seeds, Inc.’s board of directors appointed and removed

SCPI board members at the direction of the SEC or other Syngenta Group global or regional

managers.

       72.     Since SCPI became SCPLLC, the appointment and removal of the manager(s) of

SCPLLC continues to be directed by the SEC or other Syngenta Group global or regional

managers.

       73.     The management structure of the Syngenta Group’s CP Division, of which

SCPLLC is a part, is not defined by legal, corporate relationships, but by functional reporting

relationships that disregard corporate boundaries.

       74.     Atop the CP Division is the CP Leadership Team (or another body with a

different name but substantially the same composition and functions), which includes the

President of Global Crop Protection, the CP region Heads (including SCPLLC President Vern

Hawkins), and various global corporate function Heads.

       75.     The CP Leadership Team meets bi-monthly to develop strategies for new

products, markets, and operational efficiencies and to monitor performance of the Syngenta

Group’s worldwide CP business.

       76.     Under the CP Leadership Team are regional leadership teams, including the

North America Regional Leadership Team (or another body with a different name but

substantially the same composition and functions), which oversees the Syngenta Group’s U.S.

and Canadian CP business (and when previously known as the NAFTA Regional Leadership

Team, also oversaw the Syngenta Group’s Mexican CP business).

       77.     The North America Regional Leadership Team is chaired by SCPLLC’s



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president and includes employees of SCPLLC and the Syngenta Group’s Canadian CP company

(and when previously known as the NAFTA Regional Leadership Team, also included

employees of the Syngenta Group’s Mexican CP company).

       78.      The Syngenta Group’s U.S. and Canadian CP companies, including SCPLLC,

report to the North America Regional Leadership Team, which reports to the CP Leadership

Team, which reports to the SEC, which reports to SAG’s board of directors.

       79.      Some members of the North America Regional Leadership Team, including

some SCPLLC employees, report or have in the past reported not to their nominal superiors

within the companies that employ them, but directly to the Syngenta Group’s global Heads.

       80.      Syngenta Group global Heads that supervise SCPLLC employees participate and

have in the past participated in the performance reviews of these employees and in setting their

compensation.

       81.      The Syngenta Group’s functional reporting lines have resulted in employees of

companies, including SCPLLC, reporting to officers of remote parent companies, officers of

affiliates with no corporate relationship other than through SAG, or officers of subsidiary

companies.

       82.      SCPLLC performs its functions according to its role in the CP Division structure:

       a.       CP Division development projects are proposed at the global level, ranked and

       funded at the global level after input from functional entities such as the CP

       Leadership Team and the North America Regional Leadership Team, and given

       final approval by the SEC;

       b.       New CP products are developed by certain Syngenta Group companies or

       functional groups that manage and conduct research and development functions for



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        the entire CP Division;

        c.     These products are then tested by other Syngenta Group companies, including

        SCPLLC, under the direction and supervision of the SEC, the CP Leadership Team,

        or other Syngenta Group global managers;

        d.     Syngenta Group companies, including SCPLLC, do not contract with or

        compensate each other for this testing;

        e.     Rather, the cost of such testing is included in the testing companies’ operating

        budgets, which are established and approved by the Syngenta Group’s global

        product development managers and the SEC;

        f.     If a product shows promise based on this testing and the potential markets for the

product, either global or regional leaders (depending on whether the target market is global or

regional), not individual Syngenta Group companies such as SCPLLC, decide whether to sell

the product;

        g.     Decisions to sell the product must be approved by the SEC; and

        h.     The products that are sold all bear the same Syngenta trademark and logo.

        83.    SCPLLC is subject to additional oversight and control by Syngenta Group global

managers through a system of “reserved powers” established by SAG and applicable to all

Syngenta Group companies.

        84.    These “reserved powers” require Syngenta Group companies to seek approval

for certain decisions from higher levels within the Syngenta Group’s functional reporting

structure.

        85.    For example, although SAG permits Syngenta Group companies to handle small

legal matters on their own, under the “reserved powers” system, SAG’s Board of Directors must



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approve settlements of certain types of lawsuits against Syngenta Group companies, including

SCPLLC, if their value exceeds an amount specified in the “reserved powers.”

         86.   Similarly, the appointments of senior managers at SCPLLC must be approved by

higher levels than SCPLLC’s own management, board of directors, or even its direct legal

owner.

         87.   Although SCPLLC takes the formal action necessary to appoint its own senior

managers, this formal action is in fact merely the rubber-stamping of decisions that have already

been made by the Syngenta Group’s global management.

         88.   Although SAG subsidiaries, including SCPLLC, pay lip service to legal

formalities that give the appearance of authority to act independently, in practice many of their

acts are directed or pre-approved by the Syngenta Group’s global management.

         89.   SAG and the global management of the Syngenta Group restrict the authority of

SCPLLC to act independently in areas including:

      a.       Product development;

      b.       Product testing (among other things, SAG and the global management of the

      Syngenta Group require SCPLLC to use Syngenta Ltd.’s Central Toxicology Laboratory

      to design, perform, or oversee product safety testing that SCPLLC submits to the EPA in

      support of the registrations of paraquat and other pesticides);

         c.    Production;

         d.    Marketing;

         e.    Sales;

         f.    Human resources;

         g.    Communications and public affairs;



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       h.      Corporate structure and ownership;

       i.      Asset sales and acquisitions;

       j.      Key appointments to boards, committees and management positions;

       k.      Compensation packages;

       l.      Training for high-level positions; and

       m.      Finance (including day-to-day cash management) and tax.

       90.     Under the Syngenta Group’s functional management system, global managers

initiate and the global Head of Human Resources oversees international assignments and

compensation of managers employed by one Syngenta subsidiary to do temporary work for

another Syngenta subsidiary in another country. This international assignment program aims, in

part, to improve Syngenta Group-wide succession planning by developing corporate talent to

make employees fit for higher positions within the global Syngenta Group of companies.

       91.     Under this international assignment program, at the instance of Syngenta Group

global managers, SCPLLC officers and employees have been “seconded” to work at other SAG

subsidiaries, and officers and employees of other Syngenta Group subsidiaries have been

“seconded” to work at SCPLLC.

       92.     The Syngenta Group’s functional management system includes a central global

finance function—known as Syngenta Group Treasury—for the entire Syngenta Group.

       93.     The finances of all Syngenta Group companies are governed by a global treasury

policy that subordinates the financial interests of SAG’s subsidiaries, including SCPLLC, to the

interests of the Syngenta Group as a whole.

       94.     Under the Syngenta Group’s global treasury policy, Syngenta Group Treasury

controls daily cash sweeps from subsidiaries such as SCPLLC, holds the cash on account, and



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lends it to other subsidiaries that need liquidity.

        95.     The Syngenta Group’s global treasury policy does not allow SAG subsidiaries

such as SCPLLC to seek or obtain financing from non-Syngenta entities without the approval

of Syngenta Group Treasury.

        96.     Syngenta Group Treasury also decides whether SCPLLC will issue a dividend or

distribution to its direct parent company, and how much that dividend will be.

        97.     SCPLLC’s board or management approves dividends and distributions mandated

by Syngenta Group Treasury without any meaningful deliberation.

        98.     In 2011, the United States District Court for the Southern District of Illinois held

that SAG’s unusually high degree of control over SCPLLC made SCPLLC the agent or alter

ego of SAG and therefore subjected SAG to jurisdiction based on the contacts of SCPLLC. See

City of Greenville, lll. v. Syngenta Crop Protection, Inc., 830 F. Supp. 2d 550 (S.D. Ill. 2011).

        99.     SAG continues to exercise the unusually high degree of control over SCPLLC

that led the District Court to find in 2011 that SAG was subject to jurisdiction based on the

contacts of SCPLLC.

        100.    SAG, through its agent or alter ego, SCPLLC, does substantial business in the

State of Kentucky, including Counties within the Eastern District of Kentucky, in the ways

previously alleged as to SCPLLC.

                                       C. Doe Defendants

        101.    The true names or capacities whether individual, corporate, governmental,

or associate, of the defendants named herein as Doe are unknown to Plaintiff who therefore sue

said defendants by such fictitious names. Plaintiff prays leave to amend this Complaint to show

their true names and capacities and/or basis for liability when the same have been finally




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determined.

        102.    Plaintiff is informed and believes, and upon such information and belief, alleges

that each of the defendants designated h e r e i n as Doe is strictly, negligently, or otherwise

legally responsible in some manner for the events and happenings herein referred to, and

negligently or otherwise caused injury and damages proximately thereby to Plaintiff as is

hereinafter alleged.

        103.    At all times herein mentioned each and every of the Defendants was the

agent, servant, employee, joint venture, alter ego, successor-in-interest, and predecessor-interest

of each of the other, and each was acting within the court and scope of this agency, service, joint

venture, alter ego relationship, employment, and corporate interrelationship.

                               VENUE AND JURISDICTION

        104.    Subject matter jurisdiction over this action exists pursuant to 28 U.S.C. § 1332

because the amount in controversy between Plaintiff and Defendants exceeds $75,000.00,

exclusive of interest and costs, and there is complete diversity of citizenship between Plaintiff

and each Defendant. Plaintiff is a resident and citizen of Kentucky, and Defendants are all

citizens of states other than Kentucky. The corporate Defendant corporations are all incorporated

and have their principal place of business outside of the State of Kentucky. SAG is a foreign

corporation with its principal place of business in Basel, Switzerland. SPLLC is a Delaware

limited liability company, and its sole member is Syngenta Corporation, a Delaware corporation

with its principal place of business in Delaware.

        105.    This action is being filed directly in the Southern District of Illinois pursuant to

Case Management Order 1 of MDL 3004 as this case would be subject to transfer to MDL 3004.

        106.    But for CMO 1, venue is proper in the U.S. District Court for the Eastern District




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of Kentucky pursuant to 28 U.S.C. § 1391 because Defendants conduct business and are subject

to personal jurisdiction in the U.S. District Court for the Eastern District of Kentucky.

Defendants sold, marketed, and/or distributed paraquat within the U.S. District Court for the

Eastern District of Kentucky. And, a substantial part of the acts and/or omissions giving rise to

these claims occurred within the U.S. District Court for the Eastern District of Kentucky.

       107.        The United States District Court for the U.S. District Court for the Eastern

District of Kentucky has personal jurisdiction over each of the Defendants in this diversity case

because a state court of Kentucky would have such jurisdiction, in that:

              a.        Over a period of six (Syngenta Defendants) decades, each Defendant

              and/or its predecessor(s), together with those with whom they were acting in

              concert, manufactured paraquat for use as an active ingredient in paraquat products,

              distributed paraquat to formulators of paraquat products, formulated paraquat

              products, marketed paraquat products to agricultural community in the State of

              Kentucky generally, and Counties within the Eastern District of Kentucky

              specifically, and/or distributed paraquat products, intending that such products

              would be regularly, and knowing they regularly were, sold and used in the State of

              U.S. District Court for the Eastern District of Kentucky generally, and Counties

              within the U.S. District Court for the Eastern District of Kentucky specifically;

              b.        Plaintiff’s claims against each Defendant arise out of these contacts between

              the Defendant and/or its predecessor(s), together with those with whom they

              were acting in concert, with the State of U.S. District Court for the Eastern District

              of Kentucky Counties within the U.S. District Court for the Eastern District of

              Kentucky specifically;




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              c.         These contacts between each Defendant and/or its predecessors, together

              with those with whom they were acting in concert, and the State of Kentucky

              generally, and Counties within the U.S. District Court for the Eastern District of

              Kentucky specifically, were so regular, frequent, and sustained as to provide fair

              warning that it might be hauled into court there, such that requiring it to defend this

              action in the U.S. District Court for the Eastern District of Kentucky does not offend

              traditional notions of fair play and substantial justice; and

              d.         Plaintiff’s claims against each Defendant arise out of exposure in the U.S.

              District Court for the Eastern District of Kentucky to paraquat that each Defendant

              marketed, licensed, advertised, distributed, sold, and delivered to chemical

              companies, licensees, distributors, and dealers whom each Defendant expected to

              distribute and sell in or for use in the State of Kentucky generally, and Counties

              within the U.S. District Court for the Eastern District of Kentucky specifically.

                                 GENERAL FACTUAL ALLEGATIONS

Paraquat manufacture, distribution, and sale

       108.        ICI, a legacy company of Syngenta, claims to have discovered the herbicidal

properties of paraquat in 1955.

       109.        The leading manufacturer of paraquat is Syngenta, which (as ICI) developed the

active ingredient in paraquat in the early 1960s.

       110.        ICI produced the first commercial paraquat formulation and registered it in

England in 1962.

       111.        Paraquat was marketed in 1962 under the brand name Gramoxone.

       112.        Paraquat first became commercially available for use in the United States in




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1964.

        113.    In or about 1964, ICI and Chevron Chemical entered into agreements regarding

the licensing and distribution of paraquat (“the ICI-Chevron Chemical Agreements”).

        114.    In or about 1971, ICI Americas became a party to the ICI-Chevron Chemical

Agreements on the same terms as ICI.

        115.    The ICI-Chevron Chemical Agreements were renewed or otherwise remained in

effect until about 1986.

        116.    In the ICI-Chevron Chemical Agreements, ICI and ICI Americas granted

Chevron Chemical a license to their patents and technical information to permit Chevron

Chemical to formulate or have formulated, use, and sell paraquat in the United States and to

grant sub-licenses to others to do so.

        117.    In the ICI-Chevron Chemical Agreements, Chevron Chemical granted ICI and

ICI Americas a license to its patents and technical information to permit ICI and ICI Americas

to formulate or have formulated, use, and sell paraquat throughout the world and to grant sub-

licenses to others to do so.

        118.    In the ICI-Chevron Chemical Agreements, ICI and ICI Americas and Chevron

Chemical agreed to exchange patent and technical information regarding paraquat.

        119.    In the ICI-Chevron Chemical Agreements, ICI and ICI Americas granted

Chevron Chemical exclusive rights to distribute and sell paraquat in the United States.

        120.    In the ICI-Chevron Chemical Agreements, ICI and ICI Americas granted

Chevron Chemical a license to distribute and sell paraquat in the U.S. under the ICI-trademarked

brand name Gramoxone and other names.

        121.    ICI and ICI Americas and Chevron Chemical entered into the ICI-Chevron




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Chemical Agreements to divide the worldwide market for paraquat between them.

       122.     Under the ICI-Chevron Chemical Agreements, Chevron Chemical distributed

and sold paraquat in the U.S. and ICI and ICI Americas distributed and sold paraquat outside

the United States.

       123.     Under the ICI-Chevron Chemical Agreements and related agreements, both ICI

and ICI Americas and Chevron Chemical distributed and sold paraquat under the ICI-

trademarked brand names Gramoxone, Ortho Paraquat, and other names.

       124.     Under the ICI-Chevron Chemical Agreements, ICI and ICI Americas and

Chevron Chemical exchanged patent and technical information regarding paraquat.

       125.     Under the ICI-Chevron Chemical Agreements, ICI and ICI Americas provided

to Chevron Chemical health and safety and efficacy studies performed or procured by ICI’s

Central Toxicology Laboratory, which Chevron Chemical then submitted to the USDA and the

EPA to secure and maintain the registration of paraquat for manufacture, formulation,

distribution, and sale for use in the United States.

       126.     Under the ICI-Chevron Chemical Agreements and related agreements, ICI and

ICI Americas manufactured and sold paraquat to Chevron Chemical that Chevron Chemical then

distributed and sold in the United States, including in Kentucky, where Chevron Chemical

registered paraquat products with the Kentucky Department of Agriculture and marketed,

advertised, and promoted them to Kentucky distributors, dealers, applicators, and farmers.

       127.     Under the ICI-Chevron Chemical Agreements and related agreements, Chevron

Chemical distributed and sold paraquat in the United States under the ICI-trademarked brand

names Gramoxone and Ortho Paraquat, and other names, including in Kentucky, where Chevron

Chemical registered such products with the Kentucky Department of Agriculture to enable them




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to be lawfully distributed, sold, and used in Kentucky and marketed, advertised, and promoted

them to Kentucky distributors, dealers, applicators, and farmers.

       128.    SAG and its corporate predecessors and others with whom they acted in concert

have manufactured, formulated, distributed, and sold paraquat for use in the United States from

about 1964 through the present, and at all relevant times intended or expected their paraquat

products to be distributed and sold in Kentucky , where they registered such products with the

Kentucky Department of Agriculture to enable them to be lawfully distributed, sold, and used

in Kentucky, and marketed, advertised, and promoted them to Kentucky distributors, dealers,

applicators, and farmers.

       129.    SAG and its corporate predecessors and others with whom they acted in concert

have submitted health and safety and efficacy studies to the USDA and the EPA to support the

registration of paraquat for manufacture, formulation, distribution, and sale for use in the United

States from about 1964 through the present.

       130.    SCPLLC and its corporate predecessors and others with whom they acted in

concert have manufactured, formulated, distributed, and sold paraquat for use in the United

States from about 1971 through the present, and at all relevant times intended or expected their

paraquat products to be distributed and sold in Kentucky, where they registered such products

with the Kentucky Department of Agriculture to enable them to be lawfully distributed, sold,

and used in Kentucky , and marketed, advertised, and promoted them to Kentucky distributors,

dealers, applicators, and farmers.

       131.    SCPLLC and its corporate predecessors and others with whom they acted in

concert have submitted health and safety and efficacy studies to the EPA to support the

registration of paraquat for manufacture, formulation, distribution, and sale for use in the U.S.




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from about 1971 through the present.

       132.    Chevron Chemical manufactured, formulated, distributed, and sold paraquat for

use in the United States from about 1964 through at least 1986, acting in concert with ICI and

ICI Americas throughout this period, including in Kentucky, where Chevron Chemical

registered such products with the Kentucky Department of Agriculture to enable them to be

lawfully distributed, sold, and used in Kentucky , and marketed, advertised, and promoted them

to Kentucky distributors, dealers, applicators, and farmers.

Paraquat use

       133.    Since 1964, paraquat has been used in the U.S. to kill broadleaf weeds and

grasses before the planting or emergence of more than 100 field, fruit, vegetable, and plantation

crops, to control weeds in orchards, and to desiccate (dry) plants before harvest.

       134.    At all relevant times, where paraquat was used, it was commonly used multiple

times per year on the same land, particularly when used to control weeds in orchards or on farms

with multiple crops planted on the same land within a single growing season or year, and such

use was as intended or directed or reasonably foreseeable.

       135.    At all relevant times, paraquat manufactured, distributed, sold, and sprayed or

caused to be sprayed by Defendants, Defendants’ corporate predecessors, and others with whom

they acted in concert was typically sold to end-users in the form of liquid concentrates (and less

commonly in the form of granular solids) designed to be diluted with water before or after

loading it into the tank of a sprayer and applied by spraying it onto target weeds.

       136.    At all relevant times, concentrates containing paraquat manufactured,

distributed, sold, and sprayed or caused to be sprayed by Defendants, Defendants’ corporate

predecessors, and others with whom they acted in concert typically were formulated with one or




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more “surfactants” to increase the ability of the herbicide to stay in contact with the leaf,

penetrate the leaf’s waxy surface, and enter into plant cells, and the accompanying instructions

typically told end-users to add a surfactant or crop oil (which as typically formulated contains a

surfactant) before use.

        137.    At all relevant times, paraquat typically was applied with a knapsack sprayer,

handheld sprayer, aircraft (i.e., crop duster), truck with attached pressurized tank, or tractor-

drawn pressurized tank, and such use was as intended or directed or was reasonably foreseeable.

Paraquat exposure

        138.    At all relevant times, it was reasonably foreseeable that when paraquat was used

in the manner intended or directed or in a reasonably foreseeable manner, users of paraquat and

persons nearby would be exposed to paraquat while it was being mixed and loaded into the tanks

of sprayers, including as a result of spills, splashes, and leaks.

        139.    At all relevant times, it was reasonably foreseeable that when paraquat was used

in the manner intended or directed or in a reasonably foreseeable manner, persons who sprayed

paraquat or were in or near areas where it was being or recently had been sprayed would be

exposed to paraquat, including as a result of spray drift, the movement of herbicide spray

droplets from the target area to an area where herbicide application was not intended, typically

by wind, and as a result of contact with sprayed plants.

        140.    At all relevant times, it was reasonably foreseeable that when paraquat was used

in the manner intended or directed or in a reasonably foreseeable manner, users of paraquat and

persons nearby would be exposed to paraquat, including as a result of spills, splashes, and leaks,

while equipment used to spray it was being emptied or cleaned or clogged spray nozzles, lines

or valves were being cleared.




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       141.    At all relevant times, it was reasonably foreseeable that paraquat could enter the

human body via absorption through or penetration of the skin, mucous membranes, and other

epithelial tissues, including tissues of the mouth, nose and nasal passages, trachea, and

conducting airways, particularly where cuts, abrasions, rahes, sores, or other tissue damage was

present.

       142.     At all relevant times, it was reasonably foreseeable that paraquat could enter the

human body via respiration into the lungs, including the deep parts of the lungs where respiration

(gas exchange) occurred.

       143.    At all relevant times, it was reasonably foreseeable that paraquat could enter the

human body via ingestion into the digestive tract of small droplets swallowed after entering the

mouth, nose, or conducting airways.

       144.    At all relevant times, it was reasonably foreseeable that paraquat that entered the

human body via ingestion into the digestive tract could enter the enteric nervous system (the

part of the nervous system that governs the function of the gastrointestinal tract).

       145.    At all relevant times, it was reasonably foreseeable that paraquat that entered the

human body, whether via absorption, respiration, or ingestion, could enter the bloodstream.

       146.    At all relevant times, it was reasonably foreseeable that paraquat that entered the

bloodstream could enter the brain, whether through the blood-brain barrier or parts of the brain

not protected by the blood-brain barrier.

       147.    At all relevant times, it was reasonably foreseeable that paraquat that entered the

nose and nasal passages could enter the brain through the olfactory bulb (a part of the brain

involved in the sense of smell), which is not protected by the blood-brain barrier.

Parkinson’s disease




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        148.    Parkinson’s disease (“PD”) is a progressive neurodegenerative disorder of the

brain that affects primarily the motor system, the part of the central nervous system that controls

movement.

        149.   Scientists who study PD generally agree that PD can be caused by environmental

exposures.

               a.     Symptoms and treatment

        150.   The characteristic symptoms of PD are its “primary” motor symptoms: resting

tremor (shaking movement when the muscles are relaxed), bradykinesia (slowness in voluntary

movement and reflexes), rigidity (stiffness and resistance to passive movement), and postural

instability (impaired balance).

        151.   PD’s primary motor symptoms often result in “secondary’’ motor symptoms

such as freezing of gait; shrinking handwriting; mask-like expression; slurred, monotonous,

quiet voice; stooped posture; muscle spasms; impaired coordination; difficulty swallowing; and

excess saliva and drooling caused by reduced swallowing movements.

        152.   Non-motor symptoms - such as loss of or altered sense of smell, constipation,

low blood pressure on rising to stand, sleep disturbances, and depression - are present in most

cases of PD, often for years before any of the primary motor symptoms appear.

        153.   There is currently no cure for PD. No treatment will slow, stop, or reverse its

progression, and the treatments most-commonly prescribed for its motor symptoms tend to

become progressively less effective, and to cause unwelcome side effects, the longer they are

used.

               b.     Pathophysiology

        154.   The     selective   degeneration      and   death   of    dopaminergic     neurons




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(dopamineproducing nerve cells) in a part of the brain called the substantia nigra pars compacta

(“SNpc”) is one of the primary pathophysiological hallmarks of PD.

        155.    Dopamine is a neurotransmitter (a chemical messenger that transmits signals

from one neuron to another neuron, muscle cell, or gland cell) that is critical to the brain’s control

of motor function, among other things.

        156.    The death of dopaminergic neurons in the SNpc decreases the production of

dopamine.

        157.    Once dopaminergic neurons die, they are not replaced; when enough

dopaminergic neurons have died, dopamine production falls below the level the brain requires

for proper control of motor function, resulting in the motor symptoms of PD.

        158.    The presence of Lewy bodies (insoluble aggregates of a protein called

alphasynuclein) in many of the remaining dopaminergic neurons in the SNpc is another of the

primary pathophysiological hallmarks of PD.

        159.    Dopaminergic neurons are particularly susceptible to oxidative stress, a

disturbance in the normal balance between oxidants present in cells and cells’ antioxidant

defenses.

        160.    Scientists who study PD generally agree that oxidative stress is a major factor in

—if not the precipitating cause of — the degeneration and death of dopaminergic neurons in the

SNpc and the accumulation of Lewy bodies in the remaining dopaminergic neurons that are the

primary pathophysiological hallmarks of PD.

                c.    Paraquat’s toxicity

        161.    Paraquat is highly toxic to both plants and animals.

        162.    Paraquat injures and kills plants by creating oxidative stress that causes or




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contributes to cause the degeneration and death of plant cells.

         163.   Paraquat injures and kills humans and other animals by creating oxidative stress

that causes or contributes to cause the degeneration and death of human/animal cells.

         164.   Paraquat creates oxidative stress in the cells of plants and humans/animals

because of “redox properties” that are inherent in its chemical composition and structure: it is a

strong oxidant, and it readily undergoes “redox cycling” in the presence of molecular oxygen,

which is plentiful in living cells.

         165.   The redox cycling of paraquat in living cells interferes with cellular functions

that are necessary to sustain life — photosynthesis in the case of plant cells and cellular

respiration in the case of animal cells.

         166.   The redox cycling of paraquat in living cells creates a “reactive oxygen species”

known as superoxide radical, an extremely reactive molecule that can initiate a cascading series

of chemical reactions that creates other reactive oxygen species that damage lipids, proteins, and

nucleic acids—molecules that are essential components of the structures and functions of living

cells.

         167.   Because the redox cycling of paraquat can repeat indefinitely in the conditions

typically present in living cells, a single molecule of paraquat can trigger the production of

countless molecules of destructive superoxide radical.

         168.   Paraquat’s redox properties have been known since at least the 1930s.

         169.   That paraquat is toxic to the cells of plants and humans/animals because it creates

oxidative stress through redox cycling has been known since at least the 1960s.

         170.   The surfactants with which the concentrates containing paraquat manufactured,

distributed, and sold by Defendants, Defendants’ corporate predecessors, and others with whom




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they acted in concert typically were formulated were likely to increase paraquat’s toxicity to

humans by increasing its ability to stay in contact with or penetrate the skin, mucous membranes,

and other epithelial tissues, including tissues of the mouth, nose and nasal passages, trachea, and

conducting airways, the lungs, and the gastrointestinal tract.

Paraquat and Parkinson’s disease

          171.   The same redox properties that make paraquat toxic to plant cells and other types

of human/animal cells make it toxic to dopaminergic neurons — paraquat is a strong oxidant

that interferes with the function of, damages, and ultimately kills dopaminergic neurons by

creating oxidative stress through redox cycling.

          172.   Although PD is not known to occur naturally in any species other than humans,

PD research is often performed using “animal models,” in which scientists artificially produce

in laboratory animal conditions that show features of PD. Paraquat is one of only a handful of

toxins that scientists use to produce animal models of PD.

          173.   In animal models of PD, hundreds of studies involving various routes of exposure

have found that paraquat creates oxidative stress that results in the degeneration and death of

dopaminergic neurons in the SNpc, other pathophysiology consistent with that seen in human

PD, and motor deficits and behavioral changes consistent with those commonly seen in human

PD.

          174.   Hundreds of in vitro studies have found that paraquat creates oxidative stress that

results in the degeneration and death of dopaminergic neurons (and many other types of animal

cells).

          175.   Many epidemiological studies (studies of the patterns and causes of disease in

defined populations) have found an association between paraquat exposure and PD, including




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multiple studies finding a two-fold to five-fold or greater increase in the risk of PD in populations

with occupational exposure to paraquat compared to populations without such exposure.

Plaintiff’s exposure and injury

       176.     From about from about 1999 to about 2017, Plaintiff Katrina Smith was

repeatedly exposed to and inhaled, ingested, or absorbed paraquat when she lived and worked

as a crop laborer on Smith Family Farm in Jackson, Kentucky. Ms. Smith would get the chemical

mist directly on her skin when she was working in the fields in Jackson County, Kentucky.

       177.     From about 1999 to about 2017, the farm where Plaintiff worked in Jackson

County was sprayed to control weeds at least twice a year.

       178.     From about 1999 to about 2017, Plaintiff was nearby as Paraquat was sprayed,

as part of her work on Smith Family Farm in Jackson County, Kentucky.

       179.     From about 1999 to about 2017, Plaintiff frequently was nearby as Paraquat was

mixed, as part of her work on Smith Family Farm in Jackson County, Kentucky.

       180.     From about 1999 to about 2017, Plaintiff would frequently be in the field

immediately after paraquat was sprayed as part of her work on Smith Family Farm in Jackson

County, Kentucky.

       181.     Plaintiff Katrina Smith was exposed to paraquat when it was mixed, loaded,

applied, sprayed and/or cleaned; as a result of spray drift (the movement of herbicide spray

droplets from the target area to an area where herbicide application was not intended, typically

by wind); and/or as a result of contact with sprayed plants.

       182.     On information and belief, during the time Plaintiff was exposed to paraquat,

Defendants manufactured and sold the paraquat that the owners or operators of farms applied or

had applied on farms in Counties within the U.S. District Court for the Eastern District of



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Kentucky, including Jackson County.

       183.    On information and belief, Defendants manufactured and sold the paraquat to

which Plaintiff was exposed.

       184.    Defendants knew or should have known of the risk of neurological injuries to

persons who used paraquat, who were nearby while it was being used, or who entered fields or

orchards where it had been sprayed or areas near where it had been sprayed and fraudulently

concealed said risk.

       185.    As a result of repeated and consistent paraquat exposure, Plaintiff Katrina Smith

was diagnosed with Parkinson's disease.

       186.    The paraquat to which Plaintiff Katrina Smith was exposed was sold and used in

Kentucky, and was manufactured, distributed, and on information and belief sold by one or more

of the Defendants and their corporate predecessors and others with whom they acted in concert

intending or expecting that it would be sold and used in Kentucky. Paraquat manufactured,

distributed, and sold at different times as to each Defendant, its corporate predecessors, and

others with whom they acted in concert, and not necessarily throughout the entire period of her

exposure as to any particular Defendant, its corporate predecessors, and others with whom they

acted in concert.

       187.    On information and belief, Plaintiff was exposed to paraquat that was sold and

used in Kentucky, and was manufactured, distributed, and sold by SCPLLC, its corporate

predecessors, and others with whom they acted in concert intending or expecting that it would

be sold and used in Kentucky.

       188.    On information and belief, Plaintiff was exposed to paraquat that was sold and

used in Kentucky and was manufactured, distributed, and sold by SAG, its corporate




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predecessors, and others with whom they acted in concert intending or expecting that it would

be sold and used in Kentucky.

       189.    Plaintiff Katrina Smith first became aware of paraquat’s role in causing her

neurological injuries less than two years before the filing of this complaint, after seeing an ad

linking paraquat to Parkinson’s disease in February or March of 2022.

       190.    Plaintiff did not discover this earlier because she had no reason to suspect that

her working with paraquat had caused or could cause him to suffer such neurological injuries.

       191.    Before becoming aware of Paraquat’s role in causing such neurological injuries

one year before the filing of this complaint, Plaintiff had no reason to believe her neurological

injuries had been caused by wrongdoing.

       192.    Before Plaintiff became aware of Paraquat’s role in causing such neurological

injuries one year before the filing of this complaint, no doctor or any other person told Plaintiff

that her injuries were or could have been caused by exposure to Paraquat.

       193.    Before Plaintiff became aware of paraquat’s role in causing such neurological

injuries less than one year before the filing of this complaint, Plaintiff had never read or heard

of any articles in newspapers, scientific journals, or other publications that associated such

neurological injuries or Parkinson’s disease with paraquat.

       194.    Before Plaintiff became aware of paraquat’s role in causing such neurological

injuries less than one year before the filing of this complaint, Plaintiff had never read or heard

of any lawsuit alleging that paraquat causes such neurological injuries or Parkinson’s disease.

       195.    Plaintiff reasonably relied on Defendants to disclose known material health risks

and to provide adequate instructions to avoid known material health risks posed by using

paraquat as it was intended and expected to be used by Defendants.




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       196.    At all times material herein, Defendants knew that paraquat was a highly toxic

substance that can cause severe neurological injuries and impairment. As set forth above in this

complaint, Defendants knew that the paraquat to which Plaintiff was exposed, when inhaled,

ingested, or absorbed into the bodies of persons who used it as expected by the Defendants, who

were nearby while it was being used as expected by Defendants, or who entered fields or

orchards where it had been sprayed or areas near where it had been sprayed as expected by

Defendants, was likely to cause, potentiate, promote, or contribute to cause latent neurological

damage that was both permanent and cumulative, and that repeated exposures were likely to

cause or contribute to cause clinically significant neurodegenerative disease, including

Parkinson’s disease, to develop long after exposure.

       197.    Despite having such actual knowledge, Defendants provided misleading and

inadequate instructions; deliberately crafted their label, marketing, and promotion to mislead

farmers, property managers and consumers; and engaged in and disseminated selective

fraudulent research, testing, and advertising, all in an effort to turn a profit by fraudulently

convincing intended and foreseeable users such as Plaintiff, that paraquat did not cause

significant neurodegenerative disease, including Parkinson’s disease, to develop long after

exposure.

       198.    As a result of Defendants’ misrepresentations and concealment, at no time when

Plaintiff was using paraquat was she aware that exposure to paraquat could cause any latent

injury, including any latent neurological injury or Parkinson's disease, or that any precautions

were necessary to prevent any latent injury that could be caused by exposure to paraquat.

       199.    Additionally, as a result of Defendants’ misrepresentations and concealment,

Plaintiffs did not become aware of paraquat’s role in causing Plaintiff’s neurological injuries




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consistent with Parkinson's disease until February or March of 2022.

        200.   Defendants are estopped from asserting any statute of limitations or statute of

repose because, as described above in this complaint, Defendants took affirmative steps—

before, during and after Plaintiff’s exposures—to fraudulently conceal that the paraquat to which

Plaintiff was exposed, when inhaled, ingested, or absorbed into the bodies of persons who used

it as expected by the Defendants, who were nearby while it was being used as expected by

Defendants, or who entered fields or orchards where it had been sprayed or areas near where it

had been sprayed as expected by Defendants, was likely to cause, potentiate, promote, or

contribute to cause latent neurological damage that was both permanent and cumulative, and

that repeated exposures were likely to cause or contribute to cause clinically significant

neurodegenerative disease, including Parkinson’s disease, to develop long after exposure.

        201.   Defendants made such misrepresentations with the intent to deceive Plaintiff;

and Plaintiff relied on this intentional concealment to her detriment, as the concealment

prevented Plaintiff from learning about the cause of action through the exercise of ordinary

diligence.

Plaintiff’s Damages

        202.   Defendants’ tortious conduct caused Plaintiff Katrina Smith to suffer severe and

permanent physical injuries, pain, mental anguish, inconvenience, physical impairment,

disfigurement, loss of function, impaired enjoyment of life, susceptibility to future harm or

injury, and a shortened life expectancy, and she will continue to do so for the remainder of her

life.

        203.   As a result, it became necessary for Plaintiff to incur expenses from medical care

and treatment and life care, and related costs and expenses required in the care and treatment of




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said injuries. Plaintiff’s damages in this respect are presently unascertained as said services are

continuing.

       204.     As a result, it will be necessary for Plaintiff to incur future medical care and

treatment and life care and related costs and expenses required for reasonably necessary future

care and treatment. Plaintiff’s damages in this respect are presently unascertained as said

services are continuing.

       205.     As a result, Plaintiff’s power to earn money has been reduced and thus she has

and is incurring special damages for loss of earning capacity in a presently unascertained sum

as said loss is continuing.

       206.     Plaintiff hereby sues for all damages caused by Defendants’ wrongful conduct,

defective product, negligence, failure to warn, design defects and breaches of warranty,

including without limitation past and future pain, suffering, mental anguish, inconvenience,

physical impairment, medical and life care expenses, disfigurement, loss of function, impaired

enjoyment of life, susceptibility to future harm or injury, shortened life expectancy, lost wages,

and loss of earning capacity.

Punitive Damages

       207.     Defendants’ conduct as alleged herein was done with oppression, fraud, and

malice. Defendants were fully aware of the safety risks of paraquat. Nonetheless, Defendants

deliberatively crafted their label, marketing, and promotion to mislead farmers and consumers.

       208.     This was not done by accident or through some justifiable negligence. Rather,

Defendants knew that it could turn a profit by convincing the agricultural industry that paraquat

did not cause neurological injuries and Parkinson’s disease, and that full disclosure of the true

risks of paraquat would limit the amount of money Defendants would make selling paraquat.




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Defendants’ objective was accomplished not only through its misleading labeling, but through

a comprehensive scheme of selective fraudulent research and testing, misleading advertising,

and deceptive omissions as more fully alleged throughout this pleading. Plaintiff was denied the

right to make an informed decision about whether to purchase, use, or be exposed to an

herbicide, knowing the full risks attendant to that use. Such conduct was done with conscious

disregard of Plaintiff’s rights.

        209.    Alternatively, Plaintiff alleges that Defendants engaged in such conduct with

gross negligence and/or recklessness.

        210.    There is no indication that Defendants will stop their deceptive and unlawful

marketing practices unless they are punished and deterred. Accordingly, Plaintiff requests

punitive damages against the Defendants for the harms caused to Plaintiff.

Paraquat regulation

        211.    The Federal Insecticide, Fungicide, and Rodenticide Act (“FIFRA”), 7 U.S.C. §

136 et seq., which regulates the distribution, sale, and use of pesticides within the United States,

requires that pesticides be registered with the EPA prior to their distribution, sale, or use, except

as described by FIFRA. 7 U.S.C. 136a(a).

        212.    Registration by the EPA, however, is not an assurance or finding of safety. The

determination the EPA makes in registering or re-registering a product is not that the product is

“safe,” but rather that use of the product in accordance with its label directions “will not

generally cause unreasonable adverse effects on the environment.” 7 U.S.C. § 136(a)(c)(5)(D).

        213.     FIFRA generally requires that the registrant conduct health and safety testing of

pesticide products. The government is not required, nor is it able, to perform the product test

that are required of the manufacturer.




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       214.       The distribution or sale of a pesticide that is misbranded is an offense under

FIFRA, which provides in relevant part that “it shall be unlawful for any person in any State to

distribute or sell to any person . . . any pesticide which is . . . misbranded.” 7 U.S.C. §

136j(a)(1)(E).

       215.       A pesticide is misbranded under FIFRA if, among other things:

                 a.     its labeling bears any statement, design, or graphic representation relative

                 thereto or to its ingredients that is false or misleading in any particular, 7 U.S.C.

                 § 136(q)(1)(A);

                 b.     the labeling accompanying it does not contain directions for use which are

                 necessary for effecting the purpose for which the product is intended and if

                 complied with, together with any requirements imposed under Section 136a(d) of

                 the title, are adequate to protect health and the environment, 7 U.S.C. §

                 136(q)(1)(F); or

                 c.     the label does not contain a warning or caution statement that may be

                 necessary and if complied with, together with any requirements imposed under

                 section 136a(d) of the title, is adequate to protect health and the environment,” 7

                 U.S.C. § 136(q)(l)(G).

       216.       Because it is unlawful to sell a pesticide that is registered but nevertheless

misbranded, manufacturers have a continuing obligation to adhere to FIFRA’s labeling

requirements. 7 U.S.C. § 136j(a)(1)(E), § 136a(f)(2), § 136a(f)(1).

       217.       Manufacturers are likewise obligated to report incidents involving a pesticide’s

toxic effects that may not be adequately reflected in its label’s warnings. 40 C.F.R. 159.184(a),

(b).




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       218.    Plaintiff does not seek in this action to impose on Defendants any labeling or

packaging requirement in addition to or different from those required under FIFRA.

Accordingly, any allegation in this complaint that a Defendant breached a duty to provide

adequate directions for the use of paraquat or warnings about paraquat, breached a duty to

provide adequate packaging for paraquat, or concealed, suppressed, or omitted to disclose any

material fact about paraquat or engaged in any unfair or deceptive practice regarding paraquat,

that allegation is intended and should be construed to be consistent with that alleged breach,

concealment, suppression, or omission, or unfair or deceptive practice, having rendered the

paraquat “misbranded” under FIFRA; however, Plaintiff brings claims and seek relief in this

action only under state law, and does not bring any claims or seek any relief in this action under

FIFRA.

           FACTUAL ALLEGATIONS COMMON TO SPECIFIC CLAIMS

                            Strict product liability – design defect

       219.    At all times relevant to this claim, Defendants, Defendants’ corporate

predecessors, and others with whom they acted in concert were engaged in the business of

designing, manufacturing, distributing, and selling pesticides, and designed, manufactured,

distributed, and sold paraquat intending or expecting that it would be sold and used in Kentucky.

       220.    Plaintiff Katrina Smith was exposed to paraquat sold and used in Kentucky that

Defendants, Defendants’ corporate predecessors, and others with whom they acted in concert

designed, manufactured, distributed, and sold intending or expecting that it would be sold and

used in Kentucky.

       221.    The paraquat that Defendants, Defendants’ corporate predecessors, and others

with whom they acted in concert designed, manufactured, distributed, and sold and to which




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Plaintiff Katrina Smith was exposed was in a defective condition that made it unreasonably

dangerous, in that when used in the intended and directed manner or a reasonably foreseeable

manner:

              a.     it was designed, manufactured, formulated, and packaged such that it was

              likely to be inhaled, ingested, and absorbed into the bodies of persons who used

              it, who were nearby while it was being used, or who entered fields or orchards

              where it had been sprayed or areas near where it had been sprayed; and

              b.     when inhaled, ingested, or absorbed into the bodies of persons who used

              it, who were nearby while it was being used, or who entered fields or orchards

              where it had been sprayed or areas near where it had been sprayed, it was likely

              to cause or contribute to cause latent neurological damage that was both permanent

              and cumulative, and repeated exposures were likely to cause or contribute to cause

              clinically significant neurodegenerative disease, including PD, to develop long

              after exposure.

       222.    This defective condition existed in the paraquat that Defendants, Defendants’

corporate predecessors, and others with whom they acted in concert designed, manufactured,

distributed, and sold and to which Plaintiff Katrina Smith was exposed when it left the control

of Defendants, Defendants’ corporate predecessors, and others with whom they acted in concert

and was placed into the stream of commerce.

       223.    As a result of this defective condition, the paraquat that Defendants, Defendants’

corporate predecessors, and others with whom they acted in concert designed, manufactured,

distributed, and sold and to which Plaintiff Katrina Smith was exposed either failed to perform

in the manner reasonably to be expected in light of its nature and intended function, or the




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magnitude of the dangers outweighed its utility.

       224.    The paraquat that Defendants, Defendants’ corporate predecessors, and others

with whom they acted in concert designed, manufactured, distributed, and sold and to which

Plaintiff Katrina Smith was exposed was used in the intended and directed manner or a

reasonably foreseeable manner.

                          Strict product liability – failure to warn

       225.    At all times relevant to this claim, Defendants, Defendants’ corporate

predecessors, and others with whom they acted in concert were engaged in the business of

designing, manufacturing, distributing, and selling pesticides, and designed, manufactured,

distributed, and sold paraquat intending or expecting that it would be sold and used in Kentucky.

       226.    Plaintiff Katrina Smith was exposed to paraquat sold and used in Kentucky that

Defendants, Defendants’ corporate predecessors, and others with whom they acted in concert

designed, manufactured, distributed, and sold intending or expecting that it would be sold and

used in Kentucky.

       227.    When Defendants, Defendants’ corporate predecessors, and others with whom

they acted in concert designed, manufactured, distributed, and sold the paraquat to which

Plaintiff Katrina Smith was exposed, Defendants, Defendants’ corporate predecessors, and

others with whom they acted in concert knew or in the exercise of ordinary care should have

known that when used in the intended and directed manner or a reasonably foreseeable manner:

              a.     it was designed, manufactured, formulated, and packaged such that it was

              likely to be inhaled, ingested, and absorbed into the bodies of persons who used

              it, who were nearby while it was being used, or who entered fields or orchards

              where it had been sprayed or areas near where it had been sprayed; and




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              b.     when inhaled, ingested, or absorbed into the bodies of persons who used

              it, who were nearby while it was being used, or who entered fields or orchards

              where it had been sprayed or areas near where it had been sprayed, it was likely

              to cause, potentiate, promote, or contribute to cause latent neurological damage

              that was both permanent and cumulative, and repeated exposures were likely to

              cause or contribute to cause clinically significant neurodegenerative disease,

              including PD, to develop long after exposure.

       228.    The paraquat that Defendants, Defendants’ corporate predecessors, and others

with whom they acted in concert designed, manufactured, distributed, and sold and to which

Plaintiff Katrina Smith was exposed was in a defective condition that made it unreasonably

dangerous when it was used in the intended and directed manner or a reasonably foreseeable

manner, in that:

              a.     it was not accompanied by directions for use that would have made it

              unlikely to be inhaled, ingested, and absorbed into the bodies of persons who used

              it, who were nearby while it was being used, or who entered fields or orchards

              where it had been sprayed or areas near where it had been sprayed; and

              b.     it did not contain a warning or caution statement, which was necessary

              and, if complied with, was adequate to protect those exposed from the risk of

              neurological damage.

       229.    This defective condition existed in the paraquat that Defendants, Defendants’

corporate predecessors, and others with whom they acted in concert designed, manufactured,

distributed, and sold and to which Plaintiff Katrina Smith was exposed when it left the control

of Defendants, Defendants’ corporate predecessors, and others with whom they acted in concert




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and was placed into the stream of commerce.

       230.    As a result of this defective condition, the paraquat that Defendants, Defendants’

corporate predecessors, and others with whom they acted in concert designed, manufactured,

distributed, and sold and to which Plaintiff Katrina Smith was exposed either failed to perform

in the manner reasonably to be expected in light of its nature and intended function, or the

magnitude of the dangers outweighed its utility.

       231.    The paraquat that Defendants, Defendants’ corporate predecessors, and others

with whom they acted in concert designed, manufactured, distributed, and sold and to which

Plaintiff Katrina Smith was exposed was used in the intended and directed manner or a

reasonably foreseeable manner.

                                          Negligence

       232.    At all times relevant to this claim, Defendants, Defendants’ corporate

predecessors, and others with whom they acted in concert were engaged in the business of

designing, manufacturing, distributing, and selling pesticides, and designed, manufactured,

distributed, and sold paraquat intending or expecting that it would be sold and used in Kentucky.

       233.    Plaintiff Katrina Smith was exposed to paraquat sold and used in Kentucky that

Defendants, Defendants’ corporate predecessors, and others with whom they acted in concert

designed, manufactured, distributed, and sold intending or expecting that it would be sold and

used in Kentucky .

       234.    The paraquat that Defendants, Defendants’ corporate predecessors, and others

with whom they acted in concert designed, manufactured, distributed, and sold and to which

Plaintiff Katrina Smith was exposed was used in the intended and directed manner or a

reasonably foreseeable manner.




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       235.    At all times relevant to this claim, in designing, manufacturing, packaging,

labeling, distributing, and selling paraquat, and in acting in concert with others who did so,

Defendants, Defendants’ corporate predecessors, and others with whom they acted in concert

owed a duty to exercise ordinary care for the health and safety of the persons whom it was

reasonably foreseeable could be exposed to it, including Plaintiff Katrina Smith.

       236.    When Defendants, Defendants’ corporate predecessors, and others with whom

they acted in concert designed, manufactured, packaged, labeled, distributed, and sold the

paraquat to which Plaintiff Katrina Smith was exposed, it was reasonably foreseeable, and

Defendants, Defendants’ corporate predecessors, and others with whom they acted in concert

knew or in the exercise of ordinary case should have known, that when paraquat was used in the

intended and directed manner or a reasonably foreseeable manner:

       a.      it was designed, manufactured, formulated, and packaged such that it was likely

       to be inhaled, ingested, and absorbed into the bodies of persons who used it, who were

       nearby while it was being used, or who entered fields or orchards where it had been

       sprayed or areas near where it had been sprayed; and

       b.      when inhaled, ingested, or absorbed into the bodies of persons who used it, who

       were nearby while it was being used, or who entered fields or orchards where it had been

       sprayed or areas near where it had been sprayed, it was likely to cause, potentiate,

       promote, or contribute to cause latent neurological damage that was both permanent and

       cumulative, and repeated exposures were likely to cause or contribute to cause clinically

       significant neurodegenerative disease, including PD, to develop long after exposure.

       237.    In breach of the aforementioned duty to Plaintiff, Defendants, Defendants’

corporate predecessors, and others with whom they acted in concert negligently:




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          a.     failed to design, manufacture, formulate, and package paraquat to make it

          unlikely to be inhaled, ingested, and absorbed into the bodies of persons who used

          it, who were nearby while it was being used, or who entered fields or orchards

          where it had been sprayed or areas near where it had been sprayed;

          b.     designed, manufactured, and formulated paraquat such that when inhaled,

          ingested, or absorbed into the bodies of persons who used it, who were nearby

          while it was being used, or who entered fields or orchards where it had been

          sprayed or areas near where it had been sprayed, it was likely to cause or contribute

          to cause latent neurological damage that was both permanent and cumulative, and

          repeated exposures were likely to cause or contribute to cause clinically significant

          neurodegenerative disease, including PD, to develop long after exposure;

          c.     failed to perform adequate testing to determine the extent to which

          exposure to paraquat was likely to occur through inhalation, ingestion, and

          absorption into the bodies of persons who used it, who were nearby while it was

          being used, or who entered fields or orchards where it had been sprayed or areas

          near where it had been sprayed;

          d.     failed to perform adequate testing to determine the extent to which

          paraquat spray drift was likely to occur, including its propensity to drift, the

          distance it was likely to drift, and the extent to which paraquat spray droplets were

          likely to enter the bodies of persons spraying it or other persons nearby during or

          after spraying;

          e.     failed to perform adequate testing to determine the extent to which

          paraquat, when inhaled, ingested, or absorbed into the bodies of persons who used




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          it, who were nearby while it was being used, or who entered fields or orchards

          where it had been sprayed or areas near where it had been sprayed, was likely to

          cause or contribute to cause latent neurological damage that was both permanent

          and cumulative, and the extent to which repeated exposures were likely to cause

          or contribute to cause clinically significant neurodegenerative disease, including

          PD, to develop long after exposure;

          f.     failed to perform adequate testing to determine the extent to which

          paraquat, when formulated or mixed with surfactants or other pesticides or used

          along with other pesticides, and inhaled, ingested, or absorbed into the bodies of

          persons who used it, who were nearby while it was being used, or who entered

          fields or orchards where it had been sprayed or areas near where it had been

          sprayed, was likely to cause or contribute to cause latent neurological damage that

          was both permanent and cumulative, and the extent to which repeated exposures

          were likely to cause or contribute to cause clinically significant neurodegenerative

          disease, including PD, to develop long after exposure;

          g.     failed to direct that paraquat be used in a manner that would have made it

          unlikely to have been inhaled, ingested, and absorbed into the bodies of persons

          who used it, who were nearby while it was being used, or who entered fields or

          orchards where it had been sprayed or areas near where it had been sprayed; and

          h.     it did not contain a warning or caution statement, which was necessary

          and, if complied with, was adequate to protect those exposed from the risk of

          neurological damage.

                               COUNT 1
               STRICT PRODUCT LIABILITY – DESIGN DEFECT



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                       AGAINST DEFENDANTS SCPLLC AND SAG

       238.    Plaintiff incorporates all allegations in the preceding paragraphs as if fully set

forth herein and further allege:

       239.     As a direct and proximate result of the defective and unreasonably dangerous

condition of the paraquat manufactured, distributed, and sold by SCPLLC, SAG, their corporate

predecessors, and others with whom they acted in concert, Plaintiff incurred and sues to recover

damages including, without limitation Plaintiff Katrina Smith’s severe and permanent physical

injuries, past and future pain, suffering, mental anguish, inconvenience, physical impairment,

medical and life care expenses, disfigurement, loss of function, impaired enjoyment of life,

susceptibility to future harm or injury, shortened life expectancy, lost wages, and loss of earning

capacity.

       240.     Defendants’ intentional, reckless or grossly negligent disregard for the safety of

users of paraquat, including Plaintiff, justifies an award of punitive damages.

       241.    Plaintiff therefore respectfully prays that this Court enter judgment in their favor

and against Defendants Syngenta Crop Protection LLC and Syngenta AG, jointly and severally,

in an amount in excess of $100,000.00 plus costs of suit, and for such further relief as is just and

appropriate in the circumstances.

                                 COUNT 2
                STRICT PRODUCT LIABILITY – FAILURE TO WARN
                    AGAINST DEFENDANTS SCPLLC AND SAG

       242.    Plaintiff incorporates all allegations in the preceding paragraphs as if fully set

forth herein and further allege:

       243.    As a direct and proximate result of the lack of adequate directions for the use of

and warnings about the dangers of the paraquat manufactured, distributed and sold by SCPLLC,



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SAG, their corporate predecessors, and others with whom they acted in concert, Plaintiff

incurred and sues to recover damages including, without limitation Plaintiff Katrina Smith’s

severe and permanent physical injuries, past and future pain, suffering, mental anguish,

inconvenience, physical impairment, medical and life care expenses, disfigurement, loss of

function, impaired enjoyment of life, susceptibility to future harm or injury, shortened life

expectancy, lost wages, and loss of earning capacity.

       244.    Defendants’ intentional, reckless or grossly negligent disregard for the safety of

users of paraquat, including Plaintiff, justifies an award of punitive damages.

       245.    Plaintiff therefore respectfully prays that this Court enter judgment in their favor

and against Defendants Syngenta Crop Protection LLC and Syngenta AG, jointly and severally,

in an amount in excess of $100,000.00 plus costs of suit, and for such further relief as is just and

appropriate in the circumstances.

                                   COUNT 3
                                 NEGLIGENCE
                      AGAINST DEFENDANTS SCPLLC AND SAG

       246.    Plaintiff incorporates all allegations in the preceding paragraphs as if fully set

forth herein and further allege:

       247.    As a direct and proximate result of the negligence of SCPLLC, SAG, their

corporate predecessors, and others with whom they acted in concert, Plaintiff incurred and sues

to recover damages including, without limitation Plaintiff Katrina Smith’s severe and permanent

physical injuries, past and future pain, suffering, mental anguish, inconvenience, physical

impairment, medical and life care expenses, disfigurement, loss of function, impaired enjoyment

of life, susceptibility to future harm or injury, shortened life expectancy, lost wages, and loss of

earning capacity.




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        248.    Defendants’ intentional disregard for the safety of users of paraquat, including

 Plaintiff, justifies an award of punitive damages.

        249.    Plaintiff therefore respectfully prays that this Court enter judgment in their favor

 and against Defendants Syngenta Crop Protection LLC and Syngenta AG, jointly and severally,

 in an amount in excess of $100,000.00 plus costs of suit, and for such further relief as is just and

 appropriate in the circumstances.

                                     PRAYER FOR RELIEF

         WHEREFORE, Plaintiff requests this Court to enter judgment in Plaintiff’s favor and

 against the Defendants for:

               a.      actual or compensatory damages in such amount to be determined at trial

               and as provided by applicable law;

               b.      exemplary and punitive damages sufficient to punish and deter the

               Defendants and others from future misconduct;

               c.      pre-judgment and post-judgment interest;

               d.      costs, including reasonable attorneys’ fees, court costs, and other

               litigation expenses; and

               e.      any other relief the Court may deem just and proper.

                                     JURY TRIAL DEMAND

        Plaintiff demands a trial by jury on all of the triable issues within this pleading.




Dated: February 22, 2024,                              Respectfully submitted,

                                                       Kirkendall Dwyer
                                                       /s/ Andrew Kirkendall


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